920 F.2d 927Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ronald Lee MORRISON, Plaintiff-Appellant,v.W. Osborne LEE, Jr., W. Glen Hardin, Defendants-Appellees.
    No. 90-7151.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 3, 1990.Decided Dec. 17, 1990.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Terrence W. Boyle, District Judge.  (CA-89-826-CRT-BO)
      Ronald Lee Morrison, appellant pro se.
      E.D.N.C.
      DISMISSED.
      Before K.K. HALL, MURNAGHAN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Ronald Lee Morrison noted this appeal outside the 30-day appeal period established by Fed.R.App.P. 4(a)(1), and failed to move for an extension of the appeal period within the additional 30-day period provided by Fed.R.App.P. 4(a)(5).  The time periods established by Fed.R.App.P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.*   We therefore dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    
      
        *
         To the extent that Morrison intended to appeal this Court's order in In re Morrison, No. 90-8024 (4th Cir.  Sept. 25, 1990) (unpublished), he must petition for writ of certiorari to the United States Supreme Court
      
    
    